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    8                        UNITED STATES DISTRICT COURT
    9                       CENTRAL DISTRICT OF CALIFORNIA
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   11   MANUEL PEREZ SOTO,                         Case No. 2:17-cv-08299-MWF-MAA
   12                       Petitioner,            ORDER ACCEPTING REPORT
   13          v.                                  AND RECOMMENDATION OF
                                                   UNITED STATES MAGISTRATE
   14   NEIL MCDOWELL, Warden,                     JUDGE
   15                       Respondent.
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   17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the other
   18   records on file herein, and the Report and Recommendation of the United States
   19   Magistrate Judge.
   20         The time for filing objections has expired, and no objections have been made.
   21         IT THEREFORE IS ORDERED that (1) the Report and Recommendation of
   22   the Magistrate Judge is accepted; and (2) Judgment shall be entered dismissing the
   23   Petition and dismissing this action without prejudice.
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   25   DATED: October 16, 2020
   26                                          ___________________________________
   27                                          MICHAEL W. FITZGERALD
                                               UNITED STATES DISTRICT JUDGE
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